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 1   [Parties and Counsel Listed on Signature Pages]
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 7
                                     UNITED STATES DISTRICT COURT
 8
                             FOR THE NORTHERN DISTRICT OF CALIFORNIA
 9

10    IN RE: SOCIAL MEDIA ADOLESCENT                            MDL No. 3047
      ADDICTION/PERSONAL INJURY PRODUCTS
11    LIABILITY LITIGATION                                      Case No. 4:22-md-03047-YGR (PHK)
12
      This Document Relates To:                                 AGENDA AND JOINT STATEMENT
13                                                              FOR JULY 18, 2025, CASE
      ALL ACTIONS                                               MANAGEMENT CONFERENCE
14
                                                                Judge: Hon. Yvonne Gonzalez Rogers
15
                                                                Magistrate Judge: Hon. Peter H. Kang
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 1
            Pursuant to Case Management Order (“CMO”) Nos. 1 and 18, the Parties submit this agenda and
 2
     joint statement in advance of the July 18, 2025 Case Management Conference (“CMC”).
 3
     I.     Proposed Agenda for Case Management Conference
 4
            ● Plaintiffs’ Request for Briefing and Hearing on Sequencing of Initial Trials
 5
            ● Trial Venue for Breathitt School District Bellwether (“BW”) Case
 6
            ● Defendants’ Request for 6-Week Extension to Complete Expert Depositions
 7
            ●   Update on Negotiations Regarding Length of MDL Expert Depositions
 8
     II.    Joint JCCP Update
 9
            With few exceptions, the parties have completed simultaneous exchanges of opening and rebuttal
10
     reports for all Trial Group 1 experts. Expert depositions are ongoing and will continue through August
11
     27. Sargon motions as to General Causation (“GC”) experts are due July 28. With limited exceptions, all
12
     other Sargon motions and all motions in limine for Trial Group 1 cases are due August 29.
13
            Judge Kuhl held CMCs on June 16 and June 30, summarized below and in the minute order
14
     attached as Exhibit A. The next CMC is August 6, when Judge Kuhl will also hear argument on the
15
     school district (“SD”) plaintiffs’ motion to strike costs in connection with the cases they received leave
16
     to voluntarily dismiss pending appeal of her SD demurrer ruling.
17
            Trial Pool Dates. Trial Pool 1: Judge Kuhl set jury selection for the first JCCP trial to begin on
18
     November 19, 2025, with the trial to commence the following week. She ordered plaintiffs to disclose in
19
     “short order” how long they expect to need for Trial 1, an issue on which the parties continue to confer.
20
            Trial Pool 2: Judge Kuhl set the first Trial Group 2 trial for March 9, 2026. To the extent the
21
     Trial Pool 1 trial(s) are not completed by that date, Judge Kuhl will adjust date for the first Trial Group 2
22
     trial; she will not, for example, have a different judge preside over the first Trial Group 2 trial.
23
            Trial Pool 3: Judge Kuhl set the first Trial Group 3 trial for May 11, 2026. If Trial Pool 2 trial(s)
24
     are not completed by that date, she will adjust the date for the first Trial Group 3 trial.
25
            Use of Initials to Refer to Trial Pool 1 Plaintiffs at Trial. Judge Kuhl confirmed that plaintiff
26
     R.K.C. will be referred to by his first name and initials at trial. She will hear further argument on August
27

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 1
     6 on whether plaintiff K.G.M. should be referred to by her initials at trial notwithstanding that she is
 2
     now an adult, given certain sensitive issues that are expected to arise in her trial.
 3
               Sargon Motions as to General Causation Experts. Judge Kuhl ordered that Defendants may file
 4
     one 15-page Sargon motion addressing cross-cutting bases for exclusion of plaintiffs’ GC experts, along
 5
     with 15-page expert-specific Sargon motions for each expert that Defendants challenge.
 6
               Expert Rebuttal Report Deadlines. Plaintiffs elected not to file written rebuttals to any of
 7
     Defendants’ experts’ reports by the May 16 and July 3 deadlines for such reports. Judge Kuhl confirmed
 8
     that any rebuttal opinions plaintiffs’ experts intend to present at trial must be disclosed in deposition,
 9
     with any disputes as to the sufficiency of such disclosures to be resolved at a later time.
10
               Other Discovery-Related Issues. Judge Kuhl invited plaintiffs to file a motion seeking relief
11
     regarding their request for enhanced account identification; and provided guidance for resolving disputes
12
     relating to discovery from non-Defendant apps used by the Trial Group 1 plaintiffs.
13
     III.      Joint Discovery Update
14
               A copy of the following discovery-related submissions and orders, which were (or will by July
15
     18 have been) filed or issued since the last CMC Statement was filed, will be sent by email to Judge
16
     Gonzalez Rogers after this CMC Statement is filed (numbers refer to ECF docket numbers):
17
            ● Joint Letter Brief (“JLB”) Re Frances Haugen Deposition and Document Subpoena (2061)
18
            ● Order (2070) on JLB (1974) Re YouTube’s Production from Noncustodial Source “B”
19
            ● Order (2091) Granting Stip. (2090) Extending Deadlines to Complete State Witness Depositions
20
            ● Stipulated Protocols for Medical Evaluations of Plaintiffs D’Orazio (ECF 2084), Melton (ECF
21
               2085), Clevenger (ECF 2093), Mullen (ECF 2094), and Smith (ECF 2095)
22
     IV.       Other Joint Updates
23
               A.     Appeals
24
               Collateral Order Appeals. Merits briefing is currently underway in the Ninth Circuit collateral
25
     order appeal and conditional cross-appeals. On March 31, 2025, Meta filed its opening brief, in which
26
     TikTok joined. On June 23, the State AGs and Personal Injury (“PI”) and SD Plaintiffs filed their
27
     opening-answer merits briefs in support of their conditional cross-appeals and in response to Meta’s
28
                                                             2
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 1   opening brief. Meta’s answering-reply brief is due August 22. The State AGs’ and PISD Plaintiffs’
 2   optional cross-appeal reply briefs are due 21 days later. Meanwhile, the Parties have continued to
 3   advance these cases through all aspects of fact and expert discovery.
 4           Writ of Mandamus by California re Agency Discovery Order. The Ninth Circuit has set oral
 5   argument on California’s writ of mandamus for August 12, 2025, in San Francisco. Other State AGs
 6   have moved to intervene; they, along with certain California state agencies, have also moved for oral
 7   argument time. The Ninth Circuit has not yet ruled on those motions.
 8           B.      Anticipated Request for Further Extension of AG-Specific Expert Deadlines
 9           Meta and the State AGs anticipate seeking a further extension of the expert report and deposition
10   deadlines related to two AG-specific experts. The extension will not impact any other deadlines,
11   including for Rule 702 and summary judgment motions as to the AGs’ AG-specific experts and claims.
12   V.      Other Issues
13           A.      Plaintiffs’ Request for Briefing and Hearing on Sequencing of Initial Trials
14           Plaintiffs’ Position: Plaintiffs respectfully ask the Court to set a hearing on the order for initial
15   trials. The date for this hearing is currently set as “TBD” under the existing case schedule. See CMO 18
16   (ECF No. 1290). Plaintiffs ask the Court to set this hearing for August 20, the date of the next CMC,
17   with briefing submitted prior thereto. Alternatively, and as detailed below, Plaintiffs ask the Court to
18   move the deadlines for certain key pre-trial activities until sequencing is resolved.1
19           As to the PISD cases, the Court has selected six SD BWs (three plaintiff and three defense picks)
20   and five PI BWs (three plaintiff and two defense picks); indicated that two of these cases will be tried
21   outside of Oakland; and tentatively suggested alternating plaintiff and defense picks. The AG case for its
22   part will be trial-ready at the latest after the initial PISD BW trial. In addition, as the Court is aware, the
23   JCCP court is set to try PI cases in rapid succession starting in late November of this year.
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      PISD Plaintiffs reached out to Defendants on June 25 asking to meet and confer on Plaintiffs’
28   sequencing request to the Court; Defendants declined.
                                                        3
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 1          Given that there are a number of possible permutations to the order in which the cases could be
 2   tried in this Court, to simplify the process and promote efficiency, Plaintiffs propose that the first three
 3   trials proceed as follows: one side’s pick of an SD case, followed by the AG trial, and then the other
 4   side’s pick of an SD case. Plaintiffs request that the Court order briefing to determine the two SD cases
 5   to be tried first, with the matter to be heard at the August hearing. In the alternative, Plaintiffs request
 6   that Court provide guidance (with briefing if the Court sees fit) on other means of narrowing the pool of
 7   initial trial candidates—for example, by determining the type of PISD BW case to be tried first (SD or
 8   PI) and whether those case(s) will be one(s) that can be tried in Oakland.
 9          Plaintiffs respectfully submit that such narrowing would allow the parties and the Court to
10   streamline a number of pretrial tasks. Limiting the pool for the initial trials would allow the parties at
11   this juncture to exchange—and file with the Court—substantially fewer sets of proposed jury
12   instructions (mapping to the applicable state law for each PI and SD case) than the current eleven BWs.2
13   Likewise, it would allow the parties to focus on exchanging preliminary witness lists pertinent to the
14   initial trial(s), rather than trading witness lists that could become outdated for trials commencing
15   potentially much later.3 Pre-trial activities like proposed survey monkey questions for prospective jurors
16   could also be affected; for instance, the parties to the PISD BW cases may vary their questions
17   depending on whether a non-Oakland jury pool is or is not at issue.
18          If the Court is disinclined to resolve these aspects of sequencing of the trial BWs at the August
19   CMC, then Plaintiffs respectfully request that the pre-trial deadlines related to witness lists and
20   discovery of newly disclosed witnesses—at least as to PISD case-specific (versus general liability)
21   witnesses—and jury instructions be reset until after sequencing is decided. In any event, Plaintiffs are
22   ready, willing, and able to begin trying the BW cases and the AG case in 2026, at the earliest
23   opportunity available to the Court.
24

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     2
26     CMO No. 18 provides that the parties to PISD BW cases are to exchange proposed jury instructions on
     September 22 and file proposed/disputed instructions on October 27, and ECF No. 1955 sets these dates
27   as December 12 and January 23, 2026 for the AG case.
     3
       CMO No. 18 provides that preliminary witness lists are to be exchanged on September 10 for all PISD
28   BW cases and the AG case.
                                                        4
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 1          Defendants’ Position: Defendants agree with Plaintiffs’ in-the-alternative proposal that the pre-
 2   trial deadlines related to witness lists and jury instructions be suspended, with those deadlines to renew a
 3   reasonable period of time before the date of the first trial, whenever that is set. For the reasons stated
 4   below, however, it would be premature to sequence cases for trial at this juncture. To the extent the
 5   Court nonetheless wishes to do so in the near future, Defendants respectfully request the opportunity to
 6   submit more fulsome briefing before the issue is discussed with the Court, as Plaintiffs shared their
 7   sequencing proposal with Defendants for the first time just days before this CMC Statement was due,
 8   and without first holding any conferrals.4 For an issue of this magnitude, Defendants should be afforded
 9   a reasonable opportunity to consider Plaintiffs’ proposal and respond with a concrete alternative.
10          This is the second time Plaintiffs have sought to establish a sequence for trials in this MDL—
11   notwithstanding that the collateral order appeal and cross-appeals remain pending. At the April CMC,
12   PI/SD Plaintiffs asked the Court to determine which PI/SD cases would proceed to trial first in the
13   MDL. 4/23/25 MDL CMC Tr. at 7:1-8. In response, the Court made clear that it would need to resolve
14   MSJs prior to determining trial sequencing. Id. at 7:9-19 (“the issue of sequencing is premature”). MSJ
15   briefing will not be completed until the end of November in the PI/SD cases (see CMO 18 at 4), or until
16   the end of February in the AG cases (see ECF 1955 at 5). The Court’s approach makes good sense for
17   multiple reasons. First, it allows briefing of dispositive issues across a range of cases, which progresses
18   those cases and provides the Parties with critical information about which types of cases (if any) cannot
19   proceed and which (if any) can. Second, depending on the outcome of MSJs, a BW case that was
20   otherwise set for trial could fall out of the MDL. Summary judgment rulings will also significantly
21   impact both jury instructions and witness lists. The Court should therefore suspend the current deadlines
22   related to those items and defer any trial sequencing determination until after MSJs are resolved.
23          Perhaps more importantly, trials in these cases should not proceed until the Ninth Circuit
24   resolves the pending collateral order appeal and cross-appeals. Meta and TikTok’s appeal addresses the
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       Defendants did not “decline[]” a conferral on Plaintiffs’ sequencing proposal; they responded to an
28   inquiry from Plaintiffs about raising this issue with the Court by directing them to its prior guidance.
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 1   application of Section 230 to the failure-to-warn claims asserted by Plaintiffs. Plaintiffs have cross-
 2   appealed this Court’s holding that certain features are immune from design-defect claims pursuant to
 3   Section 230. Through their cross-appeals, Plaintiffs are seeking to have those design-defect claims
 4   restored to this action. The State AGs previously sought to have the same issues subject to the cross-
 5   appeals certified for appeal to the Ninth Circuit under Section 1292(b). At that time, both this Court and
 6   the AGs recognized that certification of those issues would “impact[ their] ability to go to trial.” 2/12/25
 7   MDL CMC Tr. at 48:21-23. The Plaintiffs’ cross-appeals likewise impact their ability to go to trial at
 8   this juncture. Until the Ninth Circuit issues its decision, we will not know whether the slew of claims
 9   subject to the cross-appeals will be restored to this case. Defendants therefore respectfully submit that
10   the Court should defer setting trials until the appeals are resolved.5
11          B.      Trial Venue for Breathitt School District Bellwether Case
12          Plaintiffs’ Position: The PISD Plaintiffs respectfully request that the Court consider holding the
13   trial for the Breathitt School District case in the Eastern District of Kentucky (Pikeville), as an
14   alternative to the Eureka courthouse. During the June 13 hearing on SD BW selection, the Court
15   indicated it would hold trial in Eureka to ensure a jury pool reflective of the local community relevant to
16   the case. Holding trial in the Eastern District of Kentucky (Pikeville)—the home state and federal
17   judicial district of the Breathitt School District—would directly serve that goal by drawing a jury from
18   the local region, and would conserve the limited resources of this small district. PISD Plaintiffs
19   understand that the Court previously obtained approval from the Sixth Circuit for an intercircuit
20   assignment in connection with the Craig PI BW discovery pool case, which may constitute or facilitate
21   the necessary authorization to conduct trial in Kentucky. Accordingly, in the interest of efficiency and
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      Defendants are mindful, particularly as they approach the September 24 deadline to file Rule 702
26   motions and MSJs, of the impact of the pending appeal and cross-appeals on such motions as well.

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 1   fidelity to the local nature of the dispute, the PISD Plaintiffs respectfully ask the Court to consider this
 2   alternative venue
 3          Defendants’ Position: Defendants believe it is premature to resolve Plaintiffs’ request to hold
 4   the Breathitt trial in Kentucky, which they raised only recently; at this time, Defendants do not consent,
 5   pending further consideration of the issue at a more appropriate juncture.6 At present, the order for trials
 6   has not been set (and should not be set) and MSJs have not been decided. There is no reason this issue
 7   needs to be decided now, and Defendants’ current lack of consent should be dispositive.
 8          Defendants do not believe this case can be tried outside N.D. Cal. without their consent. This
 9   Court established an April 25, 2024 deadline to file Lexecon objections, and made clear that “[s]hould a
10   party fail to file an objection, that party will be deemed to have waived any rights under Lexecon and to
11   have agreed to have their case tried by this Court.” CMO No. 10 at 2 & n.5. Breathitt knowingly and
12   voluntarily waived Lexecon by failing to file a timely objection, which Defendants relied on during the
13   BW selection process. At least absent a showing of fraud, duress, or similar circumstances, Breathitt
14   may not withdraw its Lexecon waiver. See, e.g., In re Fosamax Prods. Liab. Litig., 2011 WL 1584584,
15   at *2 (S.D.N.Y. Apr. 27, 2011). Breathitt has not even attempted to make such a showing; nor could it.
16   While Plaintiffs reference “drawing a jury from the local region” and the “costs” of litigating in this
17   Court, those factors were known to Breathitt when it decided not to file a timely Lexecon objection.
18   Permitting a unilateral revocation of Breathitt’s Lexecon waiver is especially unwarranted because it
19   presumably waived Lexecon so that it could be in the BW trial pool. Now that it is in that pool, it should
20   not be permitted to turn around and unilaterally withdraw its waiver.
21          In short, Defendants are open to considering whether to consent to a trial in Pikeville at an
22   appropriate time, after MSJs are decided and a trial order is set (assuming the Court is open to such a
23   possibility and such a transfer could be effectuated). Defendants, however, believe that this issue is
24   premature and need not be decided at this time.
25

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     6
27     Breathitt County is part of EDKY’s Lexington division, not the Pikeville division to which Plaintiffs
     seek transfer. To be clear, Defendants do not believe there would be anything improper about a transfer
28   to Pikeville if all Parties consented down the road; they simply wish to flag this issue for the Court.
                                                           7
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 1          C.      Defendants’ Request for 6-Week Extension to Complete Expert Depositions
                    (Unopposed by AGs)
 2

 3          Defendants’ Position: Defendants respectfully request a 6-week extension of the expert

 4   discovery deadline (from August 27 to October 8) to allow adequate time for both sides to take

 5   depositions of the large number of experts who have submitted reports across the JCCP and MDL, with

 6   a commensurate extension of the remaining pretrial deadlines. Only the PI/SD Plaintiffs oppose

 7   Defendants’ request.

 8          The Parties have collectively disclosed over 60 experts in the JCCP and over 70 experts in the

 9   MDL. This includes 30 experts disclosed by the MDL PI/SD Plaintiffs and State AGs—50% more than

10   they told the Court last Fall they would disclose. See 10/25/24 MDL CMC Tr. at 16:22-:17-11

11   (Plaintiffs’ counsel confirming that they are “going to have 20 experts” “between all of the plaintiffs”).

12   Some of these experts have submitted multiple (as many as seven) reports on different topics and/or

13   different BW plaintiffs. Because the MDL and JCCP Courts set different schedules for expert

14   discovery, depositions of GC experts were well underway in the JCCP before MDL experts were fully

15   disclosed. Nevertheless, while the Parties continue to work to coordinate across the proceedings to the

16   extent there is overlap between the experts, there remain a large number of expert depositions to be

17   completed in the JCCP, and an even larger number in the MDL (particularly since the MDL also

18   includes SD and AG Plaintiffs) before expert discovery closes on August 27. The Parties have

19   completed 30 depositions to date, with at least 60 additional depositions yet to occur.

20          There is no reason for the Parties to be rushing through expert depositions in the MDL,

21   particularly when the collateral order appeal and cross-appeals remain pending, which impacts when a

22   trial could go forward. A 6-week extension is warranted to allow more time for this important phase of

23   the case to be completed with the attention and care it deserves. To be clear, this issue is separate from

24   the deposition length issue discussed infra Part V.D. Defendants do not argue that the expert discovery

25   deadline should be extended to accommodate longer depositions; rather, an extension is needed to

26   accommodate the sheer number of depositions that will need to be taken.

27          State AGs’ Position: The State AGs do not oppose Defendants’ request to extend the expert

28   deposition period that currently ends on August 27, 2025, including because the extension would not
                                                         8
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 1   affect the current deadlines for dispositive motions briefing for the AG case. The State AGs do not adopt
 2   Meta’s arguments in support thereof, which address more than timing issues for these depositions.
 3          PISD Plaintiffs’ Position: PISD Plaintiffs oppose Defendants’ request to extend the expert
 4   deposition period by six weeks and to delay remaining pretrial deadlines accordingly. Defendants’
 5   request is a solution in search of a problem, untethered to any demonstrated inability to complete
 6   depositions within the time already provided under the current schedule.
 7          First, Defendants have already had ample opportunity to depose a number of the experts at issue,
 8   whose JCCP reports are highly similar if not identical to those submitted in the MDL. Expert
 9   depositions have been underway in the JCCP for more than a month, and many of the experts designated
10   in both proceedings have already sat for depositions, some for multiple days and for as long as 12
11   hours7. Defendants have had (and continue to have) the opportunity to coordinate deposition scheduling
12   across the JCCP and MDL, and to avoid duplication wherever feasible. The notion that more time is
13   needed to manage “overlap” is unconvincing, especially since Defendants have already questioned many
14   of these witnesses and know their opinions well.
15          Second, Defendants have not identified any specific instances in which they have been unable to
16   schedule or complete an expert deposition due to scheduling constraints, nor identified any actual
17   prejudice that will result from proceeding under the current expert discovery deadline. Defendants point
18   to the number of experts (significantly higher for Defendants than for Plaintiffs8) and the length of
19   reports, but such volume is not unusual for large-scale MDL litigation and does not justify a blanket
20   extension. Courts routinely manage large expert slates without wholesale schedule shifts. Moreover,
21   Defendants’ suggestion that an extension is appropriate due to pending collateral appeals fails.
22

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       Plaintiffs’ proposal for 5 or 6 hours for two experts is based on them each having been deposed for 8.5
25   hours in the JCCP on virtually identical reports; all Defendants had the opportunity to (and did) question
26   at those depositions, and can use the transcripts in this litigation as well. For experts not yet deposed
     Plaintiffs have proposed at least 7 hours each, per the Federal Rules.
     8
27     To date, Defendants have disclosed 47 experts across the JCCP and MDL—with more experts
     expected by today’s specific causation deadline—compared to 28 retained experts disclosed by
28   Plaintiffs.
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 1   Defendants have not obtained a stay pending appeal, nor have they demonstrated that the appeals will
 2   impact the current discovery schedule or the timing of trial. The mere existence of an appeal—
 3   particularly one that has not altered the pace of proceedings to date—is not a reason to delay expert
 4   discovery. Plaintiffs remain committed to preparing this case for a first trial in the first quarter of 2026,
 5   and the Court’s existing schedule is well-calibrated to that goal.
 6             Finally, as discussed below with respect to the length of expert depositions, if Defendants believe
 7   they need additional time to depose particular experts in excess of the time they have already spent in
 8   the JCCP and/or in addition to the limits provided by the Federal Rules, they should bring those matters
 9   before Judge Kang, rather than seek to upend the entire schedule for speculative reasons. A generalized
10   extension of the schedule—disrupting the broader case timeline—is neither warranted nor efficient.
11             For these reasons, the Court should deny Defendants’ request to extend the expert deposition
12   period.
13             D.     Update on Negotiations Regarding Length of MDL Expert Depositions
14             Defendants’ Position: Plaintiffs seek to limit the depositions of experts who have submitted
15   multiple reports and/or who have given opinions across a slew of separate cases—the MDL and JCCP
16   PI cases, MDL SD cases, MDL AG cases, and, remarkably, cases brought by State AGs against Meta in
17   various state courts—to between 5 and 7.5 hours (with the precise time offered varying by expert), plus
18   “1 hour for any opinions unique to non-MDL states.” These proposed draconian limits would permit
19   Defendants even less time than the Federal Rules provide in a run-of-the-mill case. See, e.g., Fed. R.
20   Civ. P. 30(d)(1) (limiting depositions to “1 day of 7 hours”). They also ignore that Defendants agreed to
21   truncate their time to depose Plaintiffs’ JCCP experts on the assumption that Defendants would have
22   additional time in the MDL with overlapping experts. Plaintiffs’ proposed limits are also inconsistent
23   with Plaintiffs’ insistence that time beyond the 7-hour default was necessary to question Defendants’
24   current and former employees “in light of the scope and complexity of this litigation” (and that the 12-
25   hour per-deposition limit that Magistrate Judge Kang ultimately set must exclude non-MDL States, who
26   were allowed to question Meta’s witnesses even longer). ECF 617 at 7. Of note, when those fact
27   witnesses were deposed, they were being asked to give up time they would otherwise devote to their
28   work; expert witnesses, by contrast, are doing their job when they testify.
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 1          The volume and length of Plaintiffs’ expert reports reinforces the need for Defendants to have
 2   ample time to depose each expert. Plaintiffs’ experts have issued reports containing up to 406 pages of
 3   opinions in reliance on tens of thousands of pages of materials. For example, expert Stuart Murray has
 4   submitted four MDL reports, one on general issues (including new opinions not included in his JCCP
 5   report) and three PI BW case-specific reports. The reports total 305 pages and cover BW-specific
 6   medical diagnoses, records, and treatment plans for three of the five PI BW plaintiffs. Nonetheless,
 7   Plaintiffs have suggested a total combined deposition time of 7 hours. In a litigation of this scale and
 8   complexity, each Defendant needs a fair opportunity to explore and challenge the opinions of each
 9   expert as to that Defendant, in each different case in which it is being offered.
10          Plaintiffs’ argument that “the claims have the same factual underpinnings” ignores that these are
11   all different cases brought by different Plaintiffs against different Defendants. For example, the AGs
12   have brought suit only against Meta, such that a trial will be focused on Meta alone. Meta is entitled to
13   fully explore the AGs’ experts’ opinions as to Meta without having to split that time with co-Defendants
14   not in the AGs’ cases. Plaintiffs’ insistence that Defendants combine and share all deposition time is
15   also inadministrable: the MDL AGs have no right to access confidential material of non-Meta
16   Defendants (whom the AGs did not sue); yet the non-Meta Defendants will need to question the PI/SD
17   and AG Plaintiffs’ shared experts about their opinions related to those Defendants, which will invariably
18   involve a discussion of their confidential materials. Defendants intend to present this dispute soon, and
19   request guidance on whether it should be presented to Your Honor or to Magistrate Judge Kang.
20          Plaintiffs’ Position: Defendants’ complaints about proposed deposition limits mischaracterize
21   both Plaintiffs’ position and the structure of this litigation. Plaintiffs are not seeking “draconian” limits
22   on expert depositions. What Plaintiffs have proposed is a reasonable, coordinated approach that accounts
23   for prior deposition time in the JCCP and seeks to avoid unnecessary duplication across jurisdictions.
24          In reality, Defendants are not merely seeking more than 7 hours of deposition time for a number
25   of these experts (regardless of whether they have been deposed in the JCCP): they are seeking over 20
26   hours of deposition time for experts shared by PI/SD Plaintiffs and the various MDL and/or state court
27   AG Plaintiffs, including those who have already been or will be deposed in the JCCP. Defendants’
28   proposal would effectively allow them to re-depose the same experts multiple times under the guise of
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 1   jurisdictional distinctions, even where the reports are nearly-identical across jurisdictions but for their
 2   opinions (if any) specific to non-Meta Defendants, who the AGs have not named.
 3          While Meta has argued that this is necessitated by alleged differences in causes of action brought
 4   by the AGs versus the PI/SD Plaintiffs, this is nonsensical: the claims have the same factual
 5   underpinnings, and these are not legal experts. These experts are testifying as to whether social media
 6   has been a significant factor in the decline in teen mental health and whether it is designed to be
 7   addictive; which causes of action a category of Plaintiffs brings has no relevance to their opinions.
 8   Defendants’ proposal is thus far from consistent with the across-jurisdiction deposition coordination
 9   previously ordered by Judge Kang for efficiency purposes, and instead is a recipe for redundancy and
10   waste of resources
11          To the extent Defendants believe additional time is justified for specific experts based on unique,
12   non-overlapping opinions, they may raise that issue with Judge Kang. But blanket requests for double-
13   and triple-time across jurisdictions—especially where Defendants have already questioned these
14   experts—are unjustified.
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